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                                         Respondent KENNEDY - EXHIBIT 1
                                           Arbitrator Disclosure Report
                             Arbitrator last affirmed the accuracy of this Disclosure Report on 11/22/2023


                                                            ARBITRATOR
Name:                 Mr. Michael Joseph Whealen                       Classification:          Public
Arbitrator ID:        A65357                                           FINRA Mediator:
CRD #:                                                                 Chair Status:            None
City/State/Country:   Saint Louis / MO / United States                 DR Portal Registered: Yes




                                                           EMPLOYMENT
Start Date         End Date                   Firm                                                           Position
05/2012            Present                    Retirement                                                     Retirement
09/2011            04/2012                    Graybar Electric Supply                                        Federal Account Manager
08/2008            09/2011                    Retirement                                                     Retirement
05/2002            08/2008                    AT&T Federal Solutions                                         Regional Vice President
06/1999            04/2002                    AT&T Federal Solutions                                         Regional Sales Manager
02/1998            06/1999                    AT&T                                                           Sales Manager
01/1996            02/1998                    AT&T Federal Systems                                           Sales
05/1993            01/1996                    AT&T                                                           Data Networking Acct
                                                                                                             Executive
04/1991            04/1993                    AT&T                                                           Senior Account Executive
02/1987            03/1991                    AT&T                                                           Regional Sales Director
09/1983            01/1987                    American Bell                                                  Account Executive
01/1983            09/1983                    American Bell                                                  Communications Consultant
12/1980            01/1983                    Southwestern Bell Telephone Company                            Communications Consultant
06/1970            12/1980                    Ralston Purina                                                 Fulfillment Supervisor


                                                             EDUCATION
Start Date         End Date             School                                                               Degree
08/1989            03/1993              Webster University                                                   MA
09/1973            04/1978              Saint Louis University                                               BA


                                                               TRAINING
Completed          Course                        Details                    Firm/School                  Hours    Location
10/2024            Motion to Dismiss                                        FINRA                            1    online
                   Training
10/2024            Suspicious Act Rpt &                                     FINRA                            1    online
                   Anti-Money Laundrg
10/2024            Explained Decision                                       FINRA                            1    online
                   Training
08/2023            Enhanced Expungement                                     FINRA                            1    online
                   Training

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12/2022            Duty to Disclose online                             FINRA                          1     online
                   mini-course
12/2022            Understanding the                                   FINRA                          1     online
                   Prehearing Stage
03/2021            Online Basic Panel                                  FINRA                          6     online
                   Training
03/2021            Expungement online                                  FINRA                          1     online
                   revised - 3/2009
03/2021            Suspicious Act Rpt &                                FINRA                          1     online
                   Anti-Money Laundrg
03/2021            New Online Civility       Paper exam                FINRA                          1
                   Training
02/2021            Discovery Training (2011)                           FINRA                          1     online


                                                 CONFLICT INFORMATION

A neutral’s current relationship with a FINRA member firm is considered a conflict of interest which precludes the neutral from
serving on a case involving said firm. FINRA’s list selection algorithm automatically screens for known conflicts with FINRA
member firms when generating lists of potential neutrals for a case, and, where a known conflict exists, the neutral will not appear
on a list in that case.

Note: Disclosures of type “Related Conflict With” are automatically added to the list of disclosures by FINRA using data found in
the Central Registration Depository (CRD). These disclosures are not provided directly by the neutral.

Type                                 Firm Name                                              Details
Family Member has relationship       Edward Jones                                           Spouse has IRA
with
Has an account with                  Computershare                                          Investment
Related Conflict With                Georgeson Securities Corporation                       Conflict due to firm affiliation



                                                DISCLOSURE INFORMATION

Neutral disclosures are provided for the parties’ information but are not considered conflicts of interest. FINRA’s list selection
algorithm does not screen disclosure information when generating lists of potential neutrals for a case. The parties may consider
this information when making decisions as to neutral selection.

Parties are encouraged to conduct their own due diligence for any prospective neutral, including their social media presence.
Keep in mind that social media presence can change as accounts may be opened or closed, privacy settings may be changed
and posts can be created, edited and/or taken down by the user. Social media posts made by FINRA neutrals do not reflect the
opinions and views of FINRA.

Type                                 Firm Name                                              Details
Disclosed Online Activities          LinkedIn                                               www.linkedin.com/in/michael-
                                                                                            whealen-0aa49b/
Disclosed Online Activities          LinkedIn                                               www.linkedin.com/in/michael-
                                                                                            whealen-9758a3a/
Disclosed Online Activities          LinkedIn                                               www.linkedin.com/in/michael-whealen-
                                                                                            a843361/
Disclosed Online Activities          LinkedIn                                               www.linkedin.com/in/mike-whealen-
                                                                                            a613625/
Has made a disclosure about          MJ Services                                            Neutral owns firm; no money made
                                                                                            from it
Is a member of                       SBC Enhanced Pension Group

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Non-investment related lawsuit/                                                                            DWI in 1973, case was thrown out and
charge                                                                                                     arrest was expunged
Non-investment related lawsuit/                                                                            Plaintiff in 2008 title acquisition case,
charge                                                                                                     judgment for Plaintiff


                   PUBLICLY AVAILABLE AWARDS FOR CASES INVOLVING PUBLIC CUSTOMERS
                                Publicly Available Awards for Cases Involving Public Customers Section, Current as of 12/14/2024

Case ID            Case Name                                                                                           Close Date        Role

                                                           There is no award information.


             PUBLICLY AVAILABLE AWARDS FOR CASES NOT INVOLVING PUBLIC CUSTOMERS
                            Publicly Available Awards for Cases NOT Involving Public Customers Section, Current as of 12/14/2024

Case ID            Case Name                                                                                           Close Date        Role

                                                           There is no award information.


                         CASES CURRENTLY ASSIGNED INVOLVING PUBLIC CUSTOMERS
Case ID        Parties and Current Representatives of Record                                                            Date Assigned      Role

23-02297       Customer (Counsel: Mr. Richard B. Fosher, Esq., St. Louis, MO) vs. First Allied Securities, Inc.         11/10/2023         Panelist
               (Counsel: Mr. Benjamin J. Biard, Esq., Miami, FL)
23-01119       Customer (Counsel: Mr. Richard B. Fosher, Esq., St. Louis, MO) vs. Moloney Securities Co.,               07/06/2023         Panelist
               Inc. (Counsel: Mr. Matthew D. Turner, Esq., Jefferson City, MO)
22-01937       Customer (Counsel: Mr. Michael C. Bixby, Esq., Pensacola, FL) vs. Center Street Securities,              11/10/2022         Panelist
               Inc. (Counsel: Mr. Donald Pollard, Port Jefferson, NY); Jeffrey T. Kennedy (Counsel: Mr. Jeffrey
               T. Kennedy, Giddings, TX); Jack Robert Thacker (Counsel: Mr. Jack Robert Thacker,
               Murfreesboro, TN); Micah Harding Rayner, Jason Price Lamb, Michael Anthony Romano
               (Counsel: Mr. James L. Kopecky, Esq., Chicago, IL); Thomas Samuel Lisk (Counsel: Mr.
               Thomas Samuel Lisk, Abingdon, VA); Billy James Aycock (Counsel: Mr. Billy J. Aycock,
               Nashville, TN)
22-01653       Customer (Counsel: Mr. Richard B. Fosher, Esq., St. Louis, MO) vs. Arete Wealth                          10/27/2022         Panelist
               Management, LLC (Counsel: Mr. Gregg J. Breitbart, Esq., Fort Lauderdale, FL); Center Street
               Securities, Inc. (Counsel: Mr. Donald Pollard, Port Jefferson, NY)




                      CASES CURRENTLY ASSIGNED NOT INVOLVING PUBLIC CUSTOMERS
Case ID        Parties and Current Representatives of Record                                                            Date Assigned      Role

                                                          There are no currently assigned cases.

                                         ARBITRATOR BACKGROUND INFORMATION


 I have an MA in Management (emphasis in Human Resources Resources) from Webster University in March 1993. Also as a
 Sales Manager, Regional Sales Manager and Regional Vice President for AT&T/SBC/AT&T Federal Solutions, I was tasked
 with assisting my employees with basic financial advice, primarily the 401K's, Deferred Compensation Plans, Savings Plans and
 Executive Savings Plans. While I was prohibited from giving advice or specific recommendations, I did help them seek
 professional counsel for specifics. Many of these folks had never been involved with deferred compensation, stock options and
 longer term savings vehicles. As we moved people along in their careers it was incumbent of me to make them as broadly
 knowledgeable as possible.




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